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UNITED STATES DISTRICT CoURT SoUTHERN DISTRICT or TEXAS

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Conference Memoranclum

 

CivilAction 7[-' 07' Z787

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Counsel: Represen ' gi

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Datc: ¥`@lDFUQ/\_/,, lUlJ\ 10 lG Reportcr:
Startecl: lO' §T Endecl: l (:U\§,

At the conference, these rulings were macle:

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(Or`r)@ ware mercanth lo\Z, /lla,rol\§§"

 

 

 

 

 

 

l:l Orcler to be entereCl.

l:l Trial Preparation to be completed by: , 201__.
El A Pretrial conference is set fort lD'- ZDG;'¢Y\ - on M(UZ}\ lq , zoIQ.
l:l A hearing is set for: on , zoI_
l:l A trial is set for : on , 201__

l:l Bench l:l lury (Estimatecl time at 5.5 hours a clay ).

l:l Joint Pretrial Orcler clue: , ZOI__
l:l lnternal review deadline

 

Lyrm N. Hughes VV
United States District]uclge

